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                                                                            JM OPE\ cm !PT


                                                                             NOV - 1 2017
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGIN^

                                        Norfolk Division

 AUDREY LATHAIVI and
 GLENNIS LATHAM,
 CO-ADMINISTRATORS OF THE ESTATE
 OF DAVID LOUIS LATHAM. DECEASED,

               Plaintiffs,
 V.                                                   CIVIL ACTION NO.; 2:16cv203

 MICHAEL EDINGTON
 and CITY OF NORFOLK,

               Defendants.
                                         AFFIDAVIT

STATE OF VIRGINIA,
CITY OF NORFOLK, to-wit:
                                  AA
       Before me,            -0                            , a Notary Public in and for the
City and State aforesaid, appeared SHANELDA LATHAM, who. after being duly sworn,
states as follows:

       1.     The law firms of Jon M. Babineau, PC and Fraim & Fiorella, P.C., have not
provided me with any legal advice or guidance as to my rights, or anything of any
nature, regarding the wrongful death settlement of my brother, David Latham's estate.
       2.     Ifully understand that I have a right to consult with and hire counsel of my
choosing to assist me in this matter. I choose to represent myself.
       3.     I have been advised and understand the City has offered a sum of
$1,500,000.00 to settle the claim.
       4.     I agree to accept, as full and fair compensation to me, on account of my
brother, David Latham's death, the sum of $100,000.00.
       5.     This affidavit is executed freely and voluntarily, without coercion of any
sort, and with a full understanding of its significance.
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       Subscribed and sworn to before me tiiis   _ day of October, 2017 by
 Shanelda Latham.




 My commission expires;        7- -"2-9^ -
 My Notary Registration Number:
                                                      ~           MY
                                                      -   :   COMMISSIC .
                                                      " 0\      NUMBER
                                                                24494G
